     Case 2:14-cr-00168-TOR               ECF No. 1379      filed 12/10/15      PageID.7226 Page 1 of 3
PROB 12C                                                                            Report Date: December 9, 2015
(7/93)

                                       United States District Court                                  FILED IN THE
                                                                                                 U.S. DISTRICT COURT
                                                                                           EASTERN DISTRICT OF WASHINGTON
                                                       for the

                                          Eastern District of Washington
                                                                                                 12/10/15
                                                                                                SEAN F. MCAVOY, CLERK


                           Petition for Warrant for Offender Under Supervision


 Name of Offender: David D. Spragg                          Case Number: 0980 2:14CR00168-TOR-22
 Address of Offender:                        Spokane Valley, Washington 99206
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, U.S. District Court Judge
 Date of Original Sentence: August 31, 2015
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. §§ 1344 and 1349
 Original Sentence:       Prison 1 day;                     Type of Supervision: Supervised Release
                          TSR - 36 day
 Asst. U.S. Attorney:     George J. C. Jacobs, III          Date Supervision Commenced: September 2, 2015
 Defense Attorney:        Federal Defender’s Office         Date Supervision Expires: September 1, 2018


                                           PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           1            Mandatory Condition # 4: The defendant shall refrain from any unlawful use of a
                        controlled substance. The defendant shall submit to one drug test within 15 days of release
                        from imprisonment and at least two periodic drug tests thereafter, as directed by the
                        probation officer.

           2            Special Condition # 15: Defendant shall abstain from alcohol and shall submit to testing
                        (including urinalysis and Breathalyzer) as directed by the supervising officer, but no more
                        than 6 tests per month, in order to confirm continued abstinence from this substance.

                        Supporting Evidence: On November 25, 2015, the undersigned officer received a phone
                        call from Mr. Spragg’s primary chemical dependency counselor with New Horizons
                        Treatment Center located in Spokane Valley, Washington. New Horizons staff stated they
                        had received lab confirmation in reference to a urinalysis sample submitted by Mr. Spragg
                        at their facility on November 18, 2015, the results of which were confirmed positive for both
                        methamphetamine and alcohol.

                        On November 30, 2015, Mr. Spragg reported to U.S. Probation to address the
                        aforementioned positive urinalysis sample, at which time Mr. Spragg admitted to using
                        methamphetamine approximately three to four times since being out of prison. Mr. Spragg
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RE: Spragg, David D.
December 9, 2015
                      further stated that he could have been drinking as well, but he did not consider it drinking
                      as he did not become drunk.

                      On December 7, 2015, the undersigned officer again received notification from New
                      Horizon’s Treatment staff, that Mr. Spragg had again submitted to a urinalysis sample at
                      their facility on December 1, 2015, that had been confirmed as positive by their lab. Mr.
                      Spragg was contacted by telephone on December 7, 2015, at which time he admitted to using
                      methamphetamine on November 30, 2015.

                      On December 8, 2015, the undersigned officer received notification from Alcohol Drug
                      Education Prevention and Treatment (ADEPT) that Mr. Spragg had reported to their facility
                      on December 7, 2015, and provided a urinalysis sample for testing that was presumptive
                      positive for amphetamine. Mr. Spragg reported to U.S. Probation on December 8, 2015, and
                      admitted to using again on December 2 or 3, 2015. Mr. Spragg stated that he has used twice
                      in the last week which resulted in both his positive urinalysis tests with New Horizons and
                      his positive test with ADEPT.
         3            Standard Condition # 6: The defendant shall notify the probation officer at least ten days
                      prior to any change in residence or employment.

                      Supporting Evidence: On November 27, 2015, after learning of Mr. Spragg’s relapse, the
                      undersigned officer attempted a phone call to his residence. The undersigned officer was
                      able to speak with Mr. Spragg’s father who stated that the offender had not been at the
                      residence in approximately 1 week, and he did not have a method for contacting him as he
                      was not answering his cell phone. Mr. Spragg did report to U.S. Probation on November 30,
                      2015, and admitted to staying with his girlfriend for a period of time, that he defined as 3-4
                      days. This is now the second time that this behavior has been addressed by the undersigned
                      officer, as Mr. Spragg was verbally reprimanded by the undersigned officer on October 28,
                      2015, for staying at his girlfriend’s residence without providing proper notification to the
                      undersigned officer. Ms. Spragg was unable to provide a reason as to why he again refused
                      to provide this information to U.S. Probation as required, and as previously directed by the
                      undersigned officer.

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the offender to
answer the allegations contained in this petition.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:      December 9, 2015
                                                                             s/ Chris Heinen
                                                                             Chris Heinen
                                                                             U.S. Probation Officer
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THE COURT ORDERS
[ ] No Action
[ X ] The Issuance of a Warrant
[ ] The Issuance of a Summons
[ ] Other


                                                           Signature of Judicial Officer

                                                           December 10, 2015
                                                           Date
